                   Exhibit III




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LIGHTING THE PATH FOR
NORTH CAROLINA VOTERS!
            For over 33 years, Democracy North Carolina
            has refused to back down. We have faith in our
            communities and our ability to overcome any
            struggle... our greatest days are ahead of us!
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 DIGNITY & HOPE:.
 THE NC VOTER HOTLINE




 In collaboration with. Southern Coalition for Social Justice, Forward Justice, NC
 Black Alliance, Disability Rights NC, Blueprint NC, Common Cause, and other
 Election Protection allies, Democracy NC deployed a robust network of advocates
 to monitor the election, ensuring accountability at every level of administration.
     When i wet to my polling place withh my upprowd college ID ar was toll I couldn't'
::: vote, Ifelt completely helpless. Calling SSS- UR VDT "cl ahged everytiri.rrg,
 The volunteer attorney who answered my call not only explained my rights but also
 contacted election officials to make sure I was allowed to cast my ballot° Thanks to
 their      or°t, I was able to vote in y first presidential election. I'm so gratefulfor
 their help irr making my voice court!
    Kara, Student Voter

 if 6,300+ calls and texts were answered, providing vital support amid voter ID
    confusion, long lines, and systemic barriers.
     Voters' concerns included partisan electioneering, nail-in ballot status,
     curbside voting access, long lines, and felony rights restoration.
     We received the highest volume of voter protection calls among 13
     battleground states, with over , as legal escalations to our network of
     volunteer attorneys.
 "This was such a great experience! It was so satisfying to be able to measurably help voters
 by learning election procedures and providing the information to voters. The captains were
 so knowledgeable and I learned a lotfrom them."
 "Being a hotline volunteer gave me a sense offufillment ofserving a higher purpose during
 an election season that was otherwise permeated with division and cynicism."— NC Hotline
 Volunteer Attorney, General Election 2024
 Each call told a story of perseverance. When voters felt silenced or confused, we
 made sure their voices were heard.

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VOTER EDUCATION &
MOBILIZATION




On NC State's campus, Democracy Summer alumni Miroslava Colan brought
over 150 students together for a panel discussion event with Raleigh. City Council.
candidates. "bwiting the candidates to campus was such an incredible opportunity
to connect students with their local leaders. We created a space where young voters
could ask questions about issues that matter to them—like campus safety,financial
security, and housing—and hear directlyfrom those who want to represent them!"
The event provided a non-partisan platform for student engagement, empowering
young adults to become more informed and involved in the electoral process.




   SA7 million voters turned out during the 2024 Election, with the highest
   early voting turnout in state history!
   Digital Voter Guides accessed by ioo,000+ voters, with over 300,000
   visiting NCvoter.org.
   Our social media campaigns reached over 3 million views, amplifying
   critical election info.




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SPEAKING TRUTH TO POWER
In 2024, the fight for fair elections became more urgent than ever. While sweeping
changes from the NCGA and NC Supreme Court created mass confusion and new
barriers to the ballot box, Democracy NC refused to back down. We remained
committed to protecting voter freedoms and access to the ballot:
    Empowering Voters — Our Communications, Policy, and Organizing Teams
    designed and distributed clear, accessible, nonpartisan voter resources to over
    1 million North Carolinians.

4r  Activating Communities — Regional Managing Organizers connected with
    voters across the state, particularly Black, brown, and indigenous populations,
    as well as LGBTQ+ and rural communities.
    Protecting the Vote — We deployed 1,000 Vote Protectors to monitor
    elections in key counties, safeguarding a fair and secure process.
Democracy NC's commitment to making voting easier, more accessible, and
equitable has never been stronger than at this very moment. Your support will
strengthen the fight for a fairer, more inclusive democracy in 2025 and beyond.
Thank you for believing in this Movement!
With sincere gratitude,
Greg Walker-Wilson, Board Chair
Cheryl Carter, Co-Executive Director
Adrienne Kelly, Co-Executive Director




April Dawson                Cynthia \Jal.lace            Lisa Leven.stein
Monica Gibbs                Greg Walker Wilson           Ajamu Amiri Dillahunt
Irving Joyner               Randy Lucas                  Christian Stolz
Tamara Kersey               Judy Futch.                  Dionne Sanders
Marcus Bass                 Adrian Maldonado


Democracy NC is led by 33 full-time and part-time staff members who invest
their time, energy, and talent in making our mission possible.

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 "Elections have always been very very important to me ever since I can remember ...I have
 been a proud Monthly Sustainer since 2020 and have always believed in the importance of
 having a voice advocatingfor voting rights,fair elections, and educating voters. I appreciate
Democracy North Carolina because they want to make sure elections arefair and accessible
for everyone!" — Pat Ross, Monthly Sustainer, Harnett County



    Cha ge-Makers -- $2,Soo+ annually
    Power Builders — $500-2,499 annually
    Mobilizers — $250-499 annually
    Sustainers — Recurring monthly gifts

Democracy NC Giving Society and Monthly
Sustainer donors receive quarterly donor
briefings, exclusive reports, honored
recognition, a personalized gift, and a
dedicated staff liaison.


    Protecting Democracy
    Mobilizing Communities
    Breaking Down Barriers
Protect the legacy and future of voting rights in North Carolina!
Thanks to your support, every grassroots dollar was put to work—building strong
volunteer programs, expanding voter engagement, and investing in the staff who
make this movement possible year-round.



Organizing &Democracy Summer



Communications &Resources
                                                                                     Platinum
                                                                                     Transparency
                                                                                                    jJ
                                                                                     aoza

Policy &Legislative Advocacy                                                         Candid.




HR, Accounting, and Operations



Development & Strategic Planning



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RESISTANCE THROUGH ACTION




x million educational                  80+ regional meetings and
resources distributed, from            events, building regional
voter guides to GOTV materials.        grassroots leadership.



2,000 volunteers across all ioo        25,000+ direct calls to voters
counties, including Adopt-a-           during the 2024 General
Precinct, Canvass Monitors, and        Election, with over 230
non-profit partners.                   individual phone bankers.



87,000 voters accessed                 .5.8 million voter touches,
the new digital voter tool,            including phone calls,
detailing every local race             texts, emails, and in-person
and ballot measure.                    engagement.



$2oo,000+ regranted to                 1,000 Vote Protectors
local organizations and                safeguarding polling places in
student leaders.                       48 counties.


                                      Learn more at demnc.co/takeaction.
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Democracy NC reached a historic milestone during the 2024 General Election—
expanding our election protection and voter engagement efforts to 73 counties,
the broadest coverage in our 32-year history.

OUR 2024 STRATEGIES
I..Research & Innovation — Serving as an organizing hub to connect regional
partners and resource distribution.
II. Students F.r Young Adults — Engaging students and statewide volunteers to
empower communities through direct service.
III. Voter Engagement, Access, & Protection — Strengthening nonprofit
partnerships to build a unified and more effective coalition.
IV. Organizational Capacity — Centering BIPOC & LGBTQ+ voices to amplify
historically marginalized power.




 Kantaria E.        Linda Sutton       Su ellerna        Lucas Seijo        DeMonte        Ma ues
  Lawrence         Central Piedmont       Lynch             East             Alford       Thompson
Western Piedmont                      Greater Triangle                      Southeast      Statewide




 Kel Williams       Lissa Harris      Jason Riddle       Rev. Claris        Lyrnu ora
Western Piedmont   Central Piedmont   Greater Triangle    raswell           Thompson
                                                           East              Southeast




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